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                                UNITED STATES DISTRICT COURT
                                EASTERN DISTRICT OF MICHIGAN
                                     SOUTHERN DIVISION

 UNITED STATES OF AMERICA,

                          Plaintiff,
                                                              Case Number 07-20246
 v.                                                           Honorable David M. Lawson

 VICTOR DESHAWN HOLMES,

                   Defendant.
 ____________________________________/

        ORDER DENYING DEFENDANT’S MOTION FOR RECONSIDERATION

        On December 19, 2011, the defendant, Victor Deshawn Holmes, filed a motion pro se to

 vacate his guilty plea and dismiss his case, and on January 4, 2012, the Court entered an order

 denying the defendant’s motion. The matter is now before the Court on the defendant’s motion for

 reconsideration of the Court’s January 4, 2012 order denying defendant’s motion to vacate guilty

 plea and dismiss case.

        A motion for reconsideration may be granted pursuant to E.D. Mich. LR 7.1(h)(1) when the

 moving party shows (1) a “palpable defect,” (2) that misled the court and the parties, and (3) that

 correcting the defect will result in a different disposition of the case. E.D. Mich. LR 7.1(h)(3). A

 “palpable defect” is a defect which is obvious, clear, unmistakable, manifest, or plain. Mich. Dep’t

 of Treasury v. Michalec, 181 F. Supp. 2d 731, 734 (E.D. Mich. 2002) (citations omitted). The

 defendant has not presented any evidence of a palpable defect that misled the Court. Instead, the

 defendant’s motion merely revisits issues already decided by the Court. Therefore, the Court will

 deny the defendant’s motion for reconsideration.
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       Accordingly, it is ORDERED that the defendant’s motion for reconsideration [dkt. #378]

 is DENIED.

                                                     s/David M. Lawson
                                                     DAVID M. LAWSON
                                                     United States District Judge

 Dated: February 9, 2012


                                               PROOF OF SERVICE

                       The undersigned certifies that a copy of the foregoing order was served
                       upon each attorney or party of record herein by electronic means or first
                       class U.S. mail on February 9, 2012.

                                                         s/Deborah R. Tofil
                                                         DEBORAH R. TOFIL




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